






NO. 07-02-0241-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



SEPTEMBER 11, 2002


______________________________



JUSTIN JAY SHEPHERD,




		Appellant


v.



THE STATE OF TEXAS, 




		Appellee

_________________________________



FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;



NO. 44331-A; HON. DAVID GLEASON, PRESIDING


_______________________________



Before QUINN and REAVIS, JJ., and BOYD, SJ. (1)

	Pending before the court is Justin Jay Shepherd's (appellant) motion for extension
of time to file his brief.  Accompanying the motion was the brief itself.  We grant the motion
and file the brief as of the date received.  However, we dismiss the appeal for the want of
jurisdiction.

	Pursuant to a plea agreement, appellant was convicted of burglary of a habitation
with intent to commit another felony.  The punishment assessed by the court did not
exceed the terms of the plea bargain.  Thereafter, appellant filed a pro se general notice
of appeal wherein he stated that he was "ignorant" of the law and "was misrepresented by
counsel."  Omitted from the notice, however, was either the statement that the court
granted permission to appeal, that the substance of the appeal involved matters raised by
written motion before trial, or that the appeal "is for jurisdictional defects" as required by
Texas Rule of Appellate Procedure 25.2(b)(3).  Nor did the appellant's subsequent notice
of appeal contain like statements.  Consequently, we lack jurisdiction to entertain the
proceeding, Cooper v. State, 45 S.W.3d 77 (Tex. Crim. App. 2001), and dismiss the appeal
for want of jurisdiction.  

 

                                                           			Per Curiam 

 

Do Not Publish. 

  
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment.  Tex. Gov't
Code Ann. § 75.002(a)(1) (Vernon Supp. 2002). 



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NO. 07-10-00059-CV

&nbsp;

IN THE
COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;

&nbsp;MARCH 3, 2010



&nbsp;



&nbsp;

IN RE KENNETH HICKMAN-BEY, RELATOR



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

ORDER

&nbsp;

&nbsp;

Relator Kenneth Hickman-Bey
has filed a petition for writ of mandamus complaining that the respondent
district judge, the Honorable Ron Enns, judge of the
69th District Court of Hartley County, has not ruled on several motions he
filed.[1]&nbsp; According to his petition, relator filed the motions in his pending civil case in that
court, Cause No. 4249H.[2]
In the petition, relator states he has written
numerous communications to the court seeking to prosecute this case.&nbsp; Relator attached
two documents to the petition. The first is a letter dated October 23, 2009,
purportedly from relator to respondent, requesting
the hearing of a motion for partial summary judgment.&nbsp; The second is a letter dated August 21, 2008,
purportedly from relator to the district clerk, requesting
disposition of a motion for summary judgment and the courts attention of a
petition for writ of mandamus.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Our
consideration of relators petition proceeds no
further than review of its form. In important respects, relators
petition does not comply with the Texas Rules of Appellate Procedure.&nbsp; The petition does not include certification
that every factual statement in the petition is supported by competent evidence
in the appendix or record.&nbsp; Tex. R. App. P. 52.3(j).&nbsp;
Also, although the 2008 letter to the district clerk bears a file-stamp,
neither of the documents attached to the petition are certified or sworn.&nbsp; Tex. R. App. P. 52.3(k)(1)(A).&nbsp; Moreover, the petition does not include sworn
copies of the motions relator says are pending.&nbsp; Because of these defects of form, relators petition does not establish even that the matters
of which he complains have been brought to Judge Ennss
attention.&nbsp; Before mandamus relief may
issue, the relator must properly establish that the
district court was asked to perform a non-discretionary legal duty and failed
or refused to do so.&nbsp; OConnor v. First Court of Appeals, 837 S.W.2d 94, 97 (Tex. 1992) (orig.
proceeding); In re Chavez, 62 S.W.3d
225, 228 (Tex.App.--Amarillo 2001, orig.
proceeding).&nbsp; For this reason alone, relators petition must be, and is, denied.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accompanying
relators petition is a motion to suspend Rule of
Appellate Procedure 9.3(a)(1)(A) and allow relator to file but one copy of his petition.&nbsp; Relator is a prison
inmate appearing pro se and in forma pauperis.&nbsp; The motion to suspend Rule 9.3(a)(1)(A) is
granted to the extent we have accepted for filing the original copy of relators petition and do not require submission of three
additional copies as otherwise required.[3]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is so
ordered.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per Curiam











[1] According to relator, the
matters awaiting disposition are his motion for non-joinder,
motion for teleconference, motion to compel production, petition for writ of
mandamus, request for hearing, and motion for partial summary judgment.&nbsp;&nbsp;&nbsp; 

&nbsp;





[2] See Hickman-Bey v. Tex. Dept of Crim. Justice-C.I.D., No.
07-09-0068-CV, 2009 Tex. App. Lexis 5627 (Tex.App.--Amarillo
July 22, 2009, no pet.) (mem.
op.) (dismissing prior appeal in same case).





[3]&nbsp; Attached to
the motion is a certificate of service stating that relator
served respondent and counsel for the real parties in interest with a copy of
his petition.







